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                               UNTED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division

 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                 Plaintiffs,

 v.                                                           Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION, et al.,

                 Defendants.

                            MEMORANDUM IN SUPPORT OF
                        PLAINTIFF’S OMNIBUS MOTION IN LIMINE

          Plaintiffs James T. Parker II and Debra Parker have moved in limine to prohibit

 Defendant Freedom Mortgage Corporation from making suggestions, statements, arguments, or

 introducing evidence or witnesses at trial. Plaintiffs also have moved in limine to be permitted to

 introduce the facts underlying the settlement agreement between the Plaintiffs and Defendant. In

 support of their motion in limine, the Plaintiffs supply this memorandum of law.

          A. Freedom Cannot Introduce Untimely, Privileged, and/or Irrelevant Evidence
             and Arguments

          Defendant must be prohibited from attempting to introduce evidence, witnesses,

 statements, arguments, or defenses which Defendant did not timely disclose under Federal Rule of

 Civil Procedure 26(a)(1) or (e), which bear no relevance to this case, which are foreclosed by

 Defendant’s evidence and testimony, and/or which are covered by privilege. To those ends,

 Plaintiff seeks an order specifically to exclude the following information from use by Defendant

 at the trial:

          1.     Any suggestion or evidence that Defendant did anything to learn of its
                 obligations or requirements under the FCRA.
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        Defendant’s rule 30(b)(6) witness was unable to provide any specifics about Defendant’s

 obligations to comply with Section 1681s-2(b), including the obligations established by the Fourth

 Circuit’s Johnson v. MBNA and Saunders v. B.B.&T decisions, other than to blandly state that

 Freedom’s “legal and compliance department would have gone through the initial review of -- of

 the ruling and provided us exactly what was needed to ensure that we complied with FCRA.” (Ex.

 A, Freedom 30(b)(6) Dep. at 94:17–96:13.) The Defendant could not identify any specific actions,

 resources, individuals, review, or analysis that was accomplished by Freedom Mortgage to ensure

 that it complied with the FCRA. (See id. at 96:6–17, 97:6–13, 99:23–100:7, 104:5–8.) When

 asked—at length—the Defendant’s Rule 30(b)(6) designee merely repeated the same refrain: that

 someone at Freedom Mortgage would have made sure that it complied. Nothing more. (See, e.g.,

 id. at 97:11–13 (“I’ve identified the departments that were responsible for ensuring that we

 complied with the regulation.”)).

        In written discovery, Plaintiffs requested information regarding the training Freedom

 provides its employees, including details about the content, documents and other information used,

 and the individuals involved in providing that training. (Ex. B, Def.’s Suppl. Resps. to Plt.s’ ROGs,

 Nos. 7, 9.) Defendant responded to Interrogatories 7 and 9 with only objections, nothing

 substantive. (Id.) Plaintiffs also asked Defendant to “[i]dentify, list and describe in detail

 Freedom’s procedures and precautions, training and resources devoted to compliance with the

 FCRA 15 U.S.C. § 1681s-2(b).” (Id. at No. 13.) Defendant again responded with a litany of

 boilerplate objections. Then on around August 9, 2019, months after requested and days before

 the Plaintiffs’ discovery cutoff, Freedom produced several “Manuals” that purported to be its

 FCRA procedures. (Bates Nos. F00407–544.) However, none of these contain anything

 substantive or responsive to Plaintiffs’ requests.
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        Further, when Plaintiffs deposed the actual employees who handled the Parkers’ FCRA

 disputes, these employees testified that they had never seen, used or even trained with any FCRA

 manual and instead had only the short, quick “hands on” one to two-week training they received

 when they first started their job. (Ex. C, Flores Dep. at 35:6–15, 50:1–19, 51:19–52:1; Ex. D,

 Cambron Dep. at 16:17–17:1, 18:3–25.)

         Freedom never sought a protective order to free it from its obligation to properly prepare

 its Rule 30(b)(6) witness to testify on each of the noticed topics. See Acosta v. Med. Staffing of

 Am., LLC, No. 2:18-cv-226, 2019 WL 911268, at *1 (E.D. Va. Feb. 20, 2019). With nothing

 relieving Freedom from providing substantive testimony via its corporate representative, the Court

 should commit Defendant to its Rule 30(b)(6) witness’s ignorance, and prohibit Freedom from

 offering evidence that it did anything to learn of its obligations or requirements under the FCRA.

 FED. R. CIV. P. 37(c)(1).

        2.      Any suggestion or evidence that Defendant’s reporting of Plaintiffs’ account
                at issue in this lawsuit was a mistake or error.

        Defendant has never claimed that its reporting of the Account was the result of an error or

 mistake by any of its employees. It did not so claim in its Answer and never made that argument

 in its own summary judgment motion. (ECF Nos. 10, 39, 40.) And when asked (via its Rule

 30(b)(6) designee), Freedom testified that its employees and systems worked exactly as intended

 without any mistake. (Ex. A, Freedom 30(b)(6) Dep. at 121:11–16.) Thus, allowing Defendant to

 raise such arguments or evidence at trial would be the first time Defendant has made such a claim

 in this case, amounting to the much-denounced “trial by ambush.” The Court should therefore

 prohibit such arguments or evidence. FED. R. CIV. P. 37(c)(1).

        3.      Any information not actually considered in the dispute process used for
                Plaintiffs’ disputes.
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        In Interrogatory 6, Plaintiffs asked Defendant for a detailed discussion of Freedom’s

 processing of Plaintiffs’ disputes, including documents actually consulted and those investigators

 were permitted to consult. (Ex. B, Def.’s Suppl. Resps. to Plt.’s ROGs, No. 6.) In its response,

 Freedom improperly invoked Federal Rule of Civil Procedure 33(d). (Id.) Freedom use of Rule

 33(d) is improper because, where the Rule demands that Freedom identify the specific documents

 that contain the answer, Freedom’s response is nothing more than “the answer is somewhere in all

 of the documents we produced.” (See id.) So, Freedom has failed to properly identify which

 documents its ACDV investigators considered in processing Plaintiffs’ disputes. Allowing any

 other information to be discussed or introduced at trial violates Rules 37(c)(1) and 26(e). FED. R.

 CIV. P. 37(c)(1); FED. R. CIV. P. 26(e)(1). The Court should therefore forbid it.

        4.      Any suggestion or evidence that Plaintiffs are barred from bringing this action
                in this Court, or that that they in the wrong court, or any other argument that
                they are in an improper venue.

        Defendant has waived any such arguments by litigating this case for over 10 months. The

 Court should therefore decline to permit Defendant to raise any such arguments at trial. Cobalt

 Boats, LLC v. Sea Ray Boats, Inc., 254 F. Supp. 3d 836, 838 (E.D. Va. 2017) (“Venue is a waivable

 personal privilege of defendants.”).

        5.      Any Reference to the June 20, 2017 Defendant’s Counsel sent to Plaintiff’s
                Counsel

        Defendant should be prohibited from making any reference to the June 20, 2017 letter that

 Defendant’s Counsel sent to Plaintiff’s Counsel. (See Freedom Conf. Mem. Supp. Mot. Summ. J.,

 Ex. 1 at 51-55, ECF No. 38-3.) This letter was sent regarding a separate lawsuit between Plaintiffs

 and Defendants and by the time the letter was sent, that matter had already been closed. The letter

 contains inadmissible hearsay that Freedom would attempt to use to prove that the balance on the

 Parker’s mortgage was the amount asserted in the letter. FED. R. EVID. 802. Of course, the letter is
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 sent by Freedom’s prior counsel (an individual that is not identified to testify regarding its contents

 or the fact of its mailing). The letter bears no relevance to this case and its admission would only

 serve to confuse the jury (who would likely believe it is offered for the truth of what the letter

 claims). FED. R. EVID. 402, 403. And of course, Freedom wants to use this letter to try to prove

 something its own records and testimony does not confirm. Due to this host of reasons, Defendant

 should not be allowed to introduce or make any reference to this letter.

        6.      Testimony from Plaintiff’s Counsel’s Paralegal Donna Winters

        Defendant should be prohibited from calling Donna Winters to testify. Ms. Winters is a

 paralegal with Plaintiffs’ counsel and as such, all her knowledge is privileged under the attorney-

 client privilege and attorney work-product doctrine. FED. R. EVID. 502. Plaintiffs have not waived

 this privilege. Thus, this Court should not allow Ms. Winters to testify at trial.

        7.      Any Reference to Ocwen Records Pertaining to Plaintiffs

        Defendant should not be allowed to make any reference to records held by Ocwen, a prior

 servicer on Plaintiffs’ mortgage account. Ocwen is not connected to Freedom, rather Freedom only

 received a set of documents electronically from Ocwen. Freedom does not have any personal

 knowledge regarding these documents and is not even certain of the veracity of these documents.

 (Ex. A, Freedom 30(b)(6) Dep. 46:9-18, 52:8-24, 64: 11-16, 83:14-84:10; Ex. E, Tarver Dep. 9:5-

 9, 13:12 – 14:22; 17:17-19, 18:20-21, 21:7-10, 25:15-18, 26:7-9, 50:4-7, 50:20-22, 51:10-14.) Any

 references by Freedom to these records are inadmissible double hearsay. FED. R. EVID. 802. Such

 records do not qualify for the business exception to hearsay, given Freedom has not produced a

 custodian or qualified witness to testify to the veracity of such documents and further, that

 Freedom’s own deposition testimony indicates a lack of trustworthiness pertaining to these
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 records. FED. R. EVID. 802(D), (E). Consequently, this Court should prohibit Freedom from

 making any references to the Ocwen records pertaining to Plaintiffs.

        8.      Testimony in Contradiction of Defendant’s Rule 30(b)(6) Deposition
                Testimony.

        Defendant should not be allowed to provide any testimony that contradicts what it has

 already testified to in its Rule 30(b)(6) deposition. In particular, Defendant should be prohibited

 from explaining what the payments should have been or what the basis was for the additional

 amount demanded as “escrow shortfall” since Defendant testified that it did not have knowledge

 of these facts in the aforementioned deposition. (Ex. A, Freedom 30(b)(6) Dep. 39:18-41:6, 45:13-

 25, 46:16-18, 49:7-11, 52:8-24, 61:3-6, 63:2-4, 68:8-13, 74:22-75:4, 77:4-5, 88:16-19, 89:14-24,

 94:13-16.) Defendant had ample opportunity to review its records and gather such information and

 yet it provided sworn testimony that it did not have knowledge of these facts. If Defendant were

 to suddenly change course and attest to such information now, it would create extreme prejudice

 to Plaintiffs’ case. Therefore, this Court should prohibit Defendants from testifying to any

 knowledge of what the Parkers’ payment should have been or the basis for the additional amount

 demanded as “escrow shortfall.”

        9.      The use of any evidence that was requested, but not timely produced, as well
                as any evidence in possession of the Defendant but not timely disclosed
                pursuant to FED. R. CIV. P. 26(a)(1) & (e).

        Rules 26(e) and 37(c)(1) prohibit parties from playing hide the ball. If a party wants to use

 evidence at trial or on a motion, that party must produce that evidence to the other side. Failure to

 do that risks a host of sanctions, including exclusion of the withheld material. FED. R. CIV. P.

 37(c)(1). Such a sanction is proper here as discovery was thoroughly conducted, has now closed,

 and Defendant failed to provide key information in a timely fashion.
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         Freedom produced 400 pages of redundant documents in response to Plaintiffs’ Requests

 for Production, on May 17, 2019 (all of which were previously produced in the Parker’s prior

 lawsuit against this Defendant). Freedom never supplemented that production with substantive

 documents until August 9, 2019, days before Plaintiffs’ discovery deadline. Importantly, and

 despite that Plaintiffs’ Requests for Production clearly embrace them, Freedom did not produce

 any manuals or guides relating to its investigation process; anything explaining the process applied

 to Plaintiffs’ disputes; or any credit reporting procedures, until days before Plaintiff’s discovery

 deadline. And even as of today, it has not produced or identified the documents it considered,

 reviewed, or read when it created the dispute-investigation system it employs; any documents

 regarding supervision, training, audits of or compensation of the employees who purportedly

 handled the Plaintiffs’ disputes; nor any net worth information. And just as importantly, while

 Freedom objected to multiple Requests as seeking information protected by attorney-client and

 work product privileges, it never served a privilege log. Defendant’s inexcusable delay in

 providing this critical information has robbed Plaintiffs of the ability to incorporate such

 information into Plaintiffs’ trial strategy. Given Defendant’s blatant failure to timely comply with

 Plaintiff’s discovery requests, this Court should prohibit Defendant from introducing any such

 information at trial.

         Further, to allow Defendant to attempt to introduce new arguments is patently unfair, would

 be extremely prejudicial to Plaintiffs, and is a violation of the Rules. The Court should therefore

 prohibit it.

         10.     Any reference to the miscellaneous, irrelevant topics listed below.

         a.      The fact that Plaintiff’s claims are brought under a fee-shifting statute.
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        Defendant should not be permitted to suggest that Plaintiffs’ claims are brought under a

 fee-shifting statute because such information is completely irrelevant under Rule of Evidence 401

 because it does not tend to make a fact of consequence more or less probable. In fact, the Court

 cannot even consider the issue of attorneys’ fees until it has been determined that a Plaintiff has

 succeeded. Even if the Court found the fee-shifting provision to be relevant in some way, Rule 403

 would require exclusion of the evidence because the unfair prejudice would far outweigh any

 probative value. FED. R. EVID. 403.

        While it does not appear that the Fourth Circuit has considered this point before, it has been

 directly ruled upon in the Ninth Circuit.1 The Court succinctly stated that “The award of attorney

 fees is a matter for the judge not the jury.” Brooks v. Cook , 938 F. 2d 1048, 1051 (9th Cir. 1991).

 The Ninth Circuit went further to state:

        In a case where the plaintiff is entitled to compensatory damages, informing the
        jury of the plaintiff’s potential right to receive attorneys’ fees might lead the jury
        to offset the fees by reducing the damage award. Even more troubling, however, is
        the case where actual damages are small or nonexistent. When damages are
        nominal, there is a risk that the jury may believe that the “harm” does not justify
        the payment of a large fee award. The jury may thus decide to find for the defendant
        rather than allow the plaintiff’s attorney to recover fees.

 Brooks v. Cook, 938 F.2d 1048, 1051 (9th Cir. 1991); see also Fisher v. City of Memphis, 234 F.3d

 312, 319 (6th Cir. 2000). In this case, the jury will have to decide the amount not only of statutory

 damages, but punitive damages as well. Putting the jury in the position to guess the amount of




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   The Fourth Circuit has under analogous fee-shifting provisions determined that the issue of fees
 is one for the court, not the jury. Saint John's African Methodist Episcopal Church v. GuideOne
 Specialty Mut. Ins. Co., 902 F. Supp. 2d 783, 787 (E.D. Va. 2012) (reasoning that “Once such a
 judgment is entered, the determination of whether a plaintiff has the right to recover attorneys'
 fees and costs under § 38.2–209 is a matter for the court, not the jury. Winston v. State Farm Fire
 & Cas. Co., 97 F.3d 1450 (4th Cir.1996) (unpublished table decision).”).
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 attorneys’ fees might result in improper “setting off” the damages by reducing the appropriate

 damages award.

        b.      Reference to the Plaintiff’s settlement with any other entity.

        Defendant should not be permitted to refer to settlement or recovery from any other entity.

 Whether and if the Parkers have recovered from any other entity based on any other claims is

 irrelevant to the recovery to which they are entitled for their claims based on the FCRA violations

 at issue by this Defendant. FED. R. EVID. 401. Under Rule of Evidence 401, evidence is relevant

 only if it has a “tendency to make the existence of any fact that is of consequence to the

 determination of the action more probable or less probable. The only issues for the jury are whether

 Defendant negligently or willfully violated the FCRA, and the amount of Plaintiffs’ damages

 caused specifically by Freedom. Defendant is not entitled to any offset or credit for settlements

 between the Plaintiff and any other defendants and the jury must be able to consider the harm

 caused by each Defendant’s violation of her FCRA rights. The rule in the Fourth Circuit is that

 the “one satisfaction” rule is inapplicable in an FCRA case. Sloane v. Equifax Info. Servs. LLC,

 510 F.3d 495, 500, & n.2 (4th Cir. 2007).2 Whether the Parkers recovered anything from any



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   It is the rule elsewhere as well. In McMillan v. Equifax Credit Info. Servs, 153 F.Supp.2d 129
 (D. Conn. 2000), the Plaintiff asserted claims against both credit reporting agencies and
 furnishers as a result of credit identity fraud. 153 F.Supp.2d at 130. The Plaintiff settled with all
 of the defendants except for one furnisher, Associates. Id. at n. 2. Associates attempted to
 implead the impostor. Id. at 130. The court denied the motion to join the impostor, noting that
 “Courts have found that the FCRA does not provide a right to indemnification. See Kay v. First
 Continental Trading, Inc., 966 F. Supp. 753, 754-55 (N.D. Ill. 1997) (right to contribution for
 violations of FCRA is matter of federal law; contribution not an available remedy); Irwin v.
 Mascott, 94 F. Supp. 2d 1052, 1058 (N.D. Cal. 2000) (no express or implied right to contribution
 or indemnification under Fair Debt Collection Practices Act).” Id. at 132.
         In Kay v. First Continental Trading, 966 F.Supp. 753 (N.D. Ill. 1997), the Court held that
 there is no right to contribution for a defendant that has violated the FCRA. In Kay, the Plaintiff
 sued his former employer and credit reporting agency as a result of a false credit report
 attributing a felony conviction to the Plaintiff. 966 F.Supp. at 753-54. The CRA filed a cross
 claim against the employer for contribution. The employer filed a motion for summary judgment
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  CRA—confidentiality of those settlements aside—has no bearing on any remaining fact of

  consequence in this action, which is specifically limited to the question of whether Freedom

  fulfilled its obligations to under the FCRA in investigating Plaintiffs’ disputes.

         Defendant may argue that the settlement amounts are relevant as a set off against Plaintiffs’

  damages. That is not correct. First, as noted above, contribution is not a defense to a claim under

  the FCRA. Second, the jury will be asked only to determine the amount of Plaintiffs’ damages that

  were caused by Freedom and Freedom alone.

        Even if such settlements were relevant under FRE 401, they should be excluded pursuant to

  FRE 403. Under that rule, relevant evidence may be excluded where its probative value is

  outweighed by prejudice, confusion, or waste of time. Allowing evidence concerning claims

  against other defendants will produce all three negative results. Plaintiffs settled with all of the

  CRA defendants leaving only the furnisher, Freedom. If Defendant were permitted to discuss these

  settlements, Plaintiffs will need to go into detail regarding the claims against each defendant, the

  reasons for settling each claim for the amount agreed to, and attempt to allocate the portions of

  each settlement that represented damages, attorneys fees attributable only to that defendant, and to

  costs. Defendants will then attempt to refute Plaintiff’s evidence. The result will be multiple

  “mini-trials” within the trial. The jury will become confused. Much time will be wasted. Plaintiff




  against the cross claim. In granting the motion, the Court noted that “As for the [FCRA] itself,
  the short answer is that it contains no express provision for contribution . . . .” Id. at 754.
          Other courts have held that a defendant in a FCRA case cannot reduce a judgment by
  offsetting the amounts recovered by the Plaintiff in settlement with other defendants in the same
  case. In Thomas v. Trans Union, LLC, U.S. District Court (D.Or.) Case No. 00-1150 (Jan. 19,
  2003), the Plaintiff prevailed at trial against the Defendant. The jury awarded $300,000 in actual
  damages and $5,000,000 in punitive damages. The Defendant moved post-trial to reduce the
  judgment by the total amount the Plaintiff had recovered in settlement with the other defendants
  in the case. The Court denied the motion.
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  may be unfairly prejudiced because the jury will hear about payments received by Plaintiff from

  other defendants and inappropriately give a credit to Freedom for these amounts.

         In addition, settlements, compromises, and offers to compromise are generally not

  admissible under Rule 408. FED. R. EVID. 408 and no valid exception to this exclusion applies.

          Accordingly, Plaintiff moves that Defendant should be precluded from introducing

  evidence of settlements with the other defendants.

         c.    Any reference to any other litigation, other than Plaintiffs’ prior litigation
  against Freedom, involving Plaintiffs or any other claims they may have.

         Defendant should be precluded from making any reference to Plaintiffs’ claims against

  other entities or other litigation involving Plaintiffs. Whether Plaintiffs have or seek to assert any

  claims against any other entity likewise does not have the tendency to make a fact of consequence

  more or less likely. FED. R. EVID. 401. The jury will only consider whether the Defendant in this

  case willfully violated Section 1681s-2(b) and the amount of damages to assess. If the Court were

  to find some relevance in this information, the unfair prejudice would outweigh the probative

  value, lead to waste of judicial resources, and confuse the jury. FED. R. EVID. 403.

         Moreover, Plaintiffs would then have to put on evidence to compare the claims, defenses,

  parties, and damages in order to demonstrate the differences between this Defendant and the claims

  against it and why it is different from the claims and damages against others. Hence, there is great

  potential for confusion of the jury and unfair prejudice to Plaintiffs should this information be

  introduced.

         d.     Any reference to the number or nature of cases handled by the Plaintiff’s
  attorneys or their law firm.

         Defendant should be precluded from referring to the number of cases handled by Plaintiffs’

  Counsel or making negative references about class actions. There is no relevance to any fact at
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  issue in this case that Plaintiff’s Counsel handles a large number of consumer cases, including

  cases like this one. Likewise, Plaintiffs cannot manufacture an improper reference to Defense

  Counsel, its clients, or its defense-side practice. The Court should ensure that no improper

  reference to other cases is made, including in the form of questions, comments regarding attorneys’

  fees obtained by consumer lawyers, or the amount of damages awarded in some cases. All such

  comments would be irrelevant, certainly, but also would serve to create a negative impression of

  consumer cases in an effort to drive down the amount that may otherwise be awarded to Plaintiffs.

  Thus, Defendant should be precluded from introducing such evidence or argument.

          B. Plaintiff Should be Allowed to Introduce Evidence of the Prior Settlement
             Agreement Between Plaintiffs and Defendant

          Evidence regarding Plaintiffs’ prior settlement agreement with Defendant, namely that

  Freedom agreed to correct derogatory reporting of Plaintiffs’ mortgage account and adjust

  balances on this account, as well as the facts preceding that agreement, are relevant to this case

  and should be admitted as evidence. FED. R. EVID. 402. While settlement agreements are generally

  inadmissible, there are exceptions in which such facts are admissible. FED. R. EVID. 408(b); see

  Barnes v. District of Columbia, 924 F.Supp.2d 74, 89-90 (D.D.C. 2013) (ruling that settlement

  agreement was admissible to show what steps defendant had taken). The facts Plaintiffs seek to

  admit pertain to what steps that Freedom agreed to take as part of the prior settlement. Freedom’s

  failure to take such steps established a pattern and practice which is relevant to Freedom’s

  willfulness and the damages that the Parkers have suffered. Thus, this Court should permit

  Plaintiffs to introduce these facts.

                                             Conclusion
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         For these reasons, Plaintiffs respectfully seek an Order prohibiting introduction of

  evidence, testimony or argument on the foregoing issues, and allowing introduction of

  aforementioned facts of the settlement agreement.



  Dated: October 4, 2019.
                                                       Respectfully submitted,

                                                       JAMES T. PARKER, II and
                                                       DEBRA L. PARKER


                                                       By:     /s/
                                                               Counsel

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                                                       Counsel for Plaintiff




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 4th day of October 2019, I caused a true and correct copy of the

  foregoing to be filed using the Clerk of Court’s CM/ECF system, which then sent a notice of

  electronic filing to all Counsel of Record.


                                                       By:     /s/
                                                               Counsel
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